                Case
     Fill in this       21-02909-hb
                  information to identify your Doc
                                               case:   1   Filed 11/09/21 Entered 11/09/21 18:49:57                             Desc Main
                                                           Document      Page 1 of 52
     United States Bankruptcy Court for the:

     ____________________
     District              District of _________________
              of South Carolina        (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                            
                                                            
                                                                Chapter 11
                                                                Chapter 12
                                                                                                                                         Check if this is an
                                                               Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                         The  Muffin Mam, Inc.
                                            ______________________________________________________________________________________________________




2.    All other names debtor used           ______________________________________________________________________________________________________
      in the last 8 years                   ______________________________________________________________________________________________________
                                            ______________________________________________________________________________________________________
      Include any assumed names,
                                            ______________________________________________________________________________________________________
      trade names, and doing business
      as names                              ______________________________________________________________________________________________________




3.    Debtor’s federal Employer             XX-XXXXXXX
                                            ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                      Principal place of business                                 Mailing address, if different from principal place
                                                                                                        of business
                                               830 Hunter Industrial Park Road                          PO  Box 6282
                                                                                                        _______________________________________________
                                            ______________________________________________
                                            Number     Street                                           Number      Street

                                            ______________________________________________              _______________________________________________
                                                                                                        P.O. Box

                                               Laurens                       SC    29360
                                            ______________________________________________
                                                                                                        Greenville                 SC      29606
                                                                                                        _______________________________________________
                                            City                        State    ZIP Code               City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Laurens County
                                            ______________________________________________
                                            County                                                      _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                 muffinmam.com
                                            ____________________________________________________________________________________________________


6.    Type of debtor                        
                                            ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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                The Muffin Mam, Inc.
Debtor          _______________________________________________________                         Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            4490
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the             
                                         ✔ Chapter 7
      debtor filing?
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                              affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal
       debtor” must check the first sub-                      income tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                       The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
       “small business debtor”) must                          statement of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When                __________________
      List all cases. If more than 1,                                                                                         MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 2
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              The Muffin Mam, Inc.
Debtor        _______________________________________________________                              Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have            No
      possession of any real                
                                            ✔ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                          It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                           What is the hazard? _____________________________________________________________________

                                                          It needs to be physically secured or protected from the weather.

                                                      ✔
                                                           It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                           attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                           assets or other options).

                                                          Other _______________________________________________________________________________



                                                                             830 Hunter Industrial Park Road
                                                      Where is the property?_____________________________________________________________________
                                                                                 Number          Street

                                                                                 ____________________________________________________________________
                                                                                 Laurens
                                                                                 _______________________________________          SC
                                                                                                                                 _______      29360
                                                                                                                                             ________________
                                                                                 City                                            State       ZIP Code


                                                      Is the property insured?
                                                          No
                                                          Yes. Insurance agency ____________________________________________________________________
                                                                                 McGriff Insurance
                                                                Contact name     Warren Blanchard
                                                                                 ____________________________________________________________________

                                                                Phone            864-325-6961
                                                                                 ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                             ✔




                                             1-49                              1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                             5,001-10,000                             50,001-100,000
      creditors
                                             100-199
                                             ✔
                                                                                10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000
                                             ✔
                                                                                $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                  $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                 $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million               $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 3
            Case 21-02909-hb                   Doc 1        Filed 11/09/21 Entered 11/09/21 18:49:57                                Desc Main
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               The Muffin Mam, Inc.
Debtor         _______________________________________________________                             Case number (if known)_____________________________________
               Name



                                            $0-$50,000                          $1,000,001-$10 million
                                                                                   ✔
                                                                                                                           $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                                petition.
      debtor
                                               I have been authorized to file this petition on behalf of the debtor.

                                               I have examined the information in this petition and have a reasonable belief that the information is true and
                                                correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              11/09/2021
                                                Executed on _________________
                                                            MM / DD / YYYY


                                            /s/ Todd Littleton
                                                _____________________________________________               Todd Littleton
                                                                                                           _______________________________________________
                                                Signature of authorized representative of debtor           Printed name

                                                       CEO
                                                Title _________________________________________




18.   Signature of attorney
                                            /s/ W. Harrison Penn
                                                _____________________________________________              Date         11/09/2021
                                                                                                                        _________________
                                                Signature of attorney for debtor                                        MM   / DD / YYYY



                                                W. Harrison Penn
                                                _________________________________________________________________________________________________
                                                Printed name
                                                McCarthy, Reynolds, & Penn, LLC
                                                _________________________________________________________________________________________________
                                                Firm name
                                                1517 Laurel Street PO Box 11332 (29211)
                                                _________________________________________________________________________________________________
                                                Number     Street
                                                Columbia
                                                ____________________________________________________            SC             29201
                                                                                                               ____________ ______________________________
                                                City                                                           State        ZIP Code

                                                8037718836
                                                ____________________________________                              hpenn@mccarthy-lawfirm.com
                                                                                                               __________________________________________
                                                Contact phone                                                  Email address



                                                78087                                                           SC
                                                ______________________________________________________ ____________
                                                Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
               Case 21-02909-hb                            Doc 1       Filed 11/09/21 Entered 11/09/21 18:49:57                                     Desc Main
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  Fill in this information to identify the case:
              The Muffin Mam, Inc.
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: District of South Carolina

  Case number (If known):       _________________________                                                                                                 Check if this is an
                                                                                                                                                              amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                  12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                   Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                    Amount of claim           Value of collateral
                                                                                                                                   Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien              of collateral.            claim
     Pinnacle Bank                                               All accounts, all chattel paper, all
      __________________________________________
                                                                 documents, all instruments, all inventory, all                      Undetermined
                                                                                                                                   $__________________          Undetermined
                                                                                                                                                              $_________________

     Creditor’s mailing address
                                                                 general intangibles, all equipment, all
                                                                 fixtures, all deposit accounts, all goods,
      Attn: Lance Miller SVP, Special Assets
      ________________________________________________________   letter of credit rights, supporting obligations,
      140 East Third St., Charlotte, NC 28204
      ________________________________________________________   investment property, commercial tort
                                                                  Describe property
                                                                 claims,   the lien  in lender's possession,
    Creditor’s email address, if known
                                                                  Agreement      you made,
                                                                  _________________________________________________
      _________________________________________
                                                                   Is the creditor an insider or related party?
    Date debt was incurred           __________________            
                                                                   ✔   No
    Last 4 digits of account                                          Yes
    number                   _________________                     Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                  
                                                                   ✔   No
    same property?                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    
    ✔
      No
                                                                   As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                   Check all that apply.
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
                                                                                                                                   $__________________        $_________________
      __________________________________________
     Creditor’s mailing address
      ________________________________________________________

      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                   Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                       _________________________________________________
    number                   _________________
                                                                   Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                     No
    same property?                                                    Yes
     No                                                           Is anyone else liable on this claim?
     Yes. Have you already specified the relative                    No
              priority?
                                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             No. Specify each creditor, including this
                   creditor, and its relative priority.            As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                      Contingent
             Yes. The relative priority of creditors is              Unliquidated
                  specified on lines _____                            Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                      0.00
                                                                                                                                    $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                            2
                                                                                                                                                                page 1 of ___
             Case 21-02909-hb                Doc 1         Filed 11/09/21 Entered 11/09/21 18:49:57                                 Desc Main
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Debtor
               The Muffin Mam, Inc.
               _______________________________________________________                            Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity
     David B. Wheeler
     Moore & Van Allen PLLC
     PO Box 22828                                                                                                      1
                                                                                                               Line 2. __                    _________________
     Charleston, SC, 29413-2828


                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                      2 of ___
                                                                                                                                                           2
                 Case 21-02909-hb               Doc 1       Filed 11/09/21 Entered 11/09/21 18:49:57                                Desc Main
   Fill in this information to identify the case:           Document      Page 7 of 52

   Debtor
                    The Muffin Mam, Inc.
                    __________________________________________________________________

                                           District of South Carolina
   United States Bankruptcy Court for the: ________________________________

   Case number       ___________________________________________
    (If known)

                                                                                                                                       Check if this is an
                                                                                                                                          amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                      12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
    
    ✔    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                  Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           51,816.00
    Greenville County Tax Collector                                                                                                   $_________________
                                                            Check all that apply.
    Dept. 390                                                  Contingent
    PO Box 100221                                              Unliquidated
    Columbia, SC, 29202-3221                                   Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    _________________________________

    Last 4 digits of account                                Is the claim subject to offset?
    number      _______________________                     ✔ No

                                                             Yes
    Specify Code subsection of PRIORITY unsecured
                                8
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 Laurens County Tax Collector                            As of the petition filing date, the claim is: $______________________
                                                                                                            68,606.20                 $_________________
                                                            Check all that apply.
    Attn: Cynthia M. Burke
    PO Box 1049                                                Contingent
    Laurens, SC, 29360                                         Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Taxes & Other Government Units
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔ No

    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                                8
2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           194,152.23
    United States Internal Revenue Service                                                                                            $_________________
                                                            Check all that apply.
    PO Box 409101
                                                               Contingent
    Ogden, UT, 84409                                           Unliquidated
                                                               Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔
                                                                 No
    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                               8


  Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 38
                                                                                                                                           page 1 of ___
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              The Muffin Mam, Inc.            Doc 1        Filed 11/09/21 Entered 11/09/21 18:49:57 Desc Main
  Debtor        _______________________________________________________            Case number (if known)_____________________________________
                Name                                       Document      Page 8 of 52
 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    1WorldSync                                                                                                               5,570.00
                                                                                                                           $________________________________
                                                                              Contingent
    Dept. 781341                                                              Unliquidated
    PO Box 78000                                                              Disputed
    Detroit, MI, 48278-1341                                                                        Suppliers or Vendors
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔   No
                                                                              Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    ACI Janitorial                                                         Check all that apply.                             32,240.05
                                                                                                                           $________________________________
    PO Box 486                                                                Contingent
    Greenville, SC, 29602                                                     Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
                                                                                                   Suppliers or Vendors


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔   No
    Last 4 digits of account number            __________________             Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Affinity Bakery Partners, LLC                                                                                            47,546.32
                                                                                                                           $________________________________
                                                                              Contingent
    2928 Walden Avenue                                                        Unliquidated
    Depew, NY, 14043                                                          Disputed
                                                                           Basis for the claim:
                                                                                                   Suppliers or Vendors

    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    AFLAC                                                                  Check all that apply.
                                                                                                                             1,435.12
                                                                                                                           $________________________________
    ATTN: Remittance Processing                                               Contingent
    1932 Wynnton Road                                                         Unliquidated
    Columbus, GA, 31999                                                       Disputed
                                                                            Basis for the claim:
                                                                                                   Suppliers or Vendors

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________          
                                                                           ✔
                                                                               No
                                                                              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    AG Freight, LLC                                                                                                          2,776.36
                                                                                                                           $________________________________
                                                                           Check all that apply.
    650 Hurricane Creek Rd                                                    Contingent
    Piedmont, SC, 29673                                                       Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
                                                                                                   Suppliers or Vendors

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Airgas USA, LLC                                                                                                          342.84
                                                                                                                           $________________________________
                                                                           Check all that apply.
    P.O. Box 734672                                                           Contingent
    Dallas, TX, 75373-4672                                                    Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:    Suppliers or Vendors

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________         
                                                                           ✔
                                                                               No
                                                                              Yes


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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             1,085.00
                                                                                                                     $________________________________
 Alexander AC Services                                                  Contingent
 125 Victor                                                             Unliquidated
 Greer, SC, 29651                                                       Disputed

                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       786.73
                                                                                                                     $________________________________
 Allied Electronics
 P.O. Box 2325                                                          Contingent
 Fort Worth, TX, 76113                                                  Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Americold Piedmont SC                                               Check all that apply.
                                                                                                                      500.00
                                                                                                                     $________________________________
 1619 Antioch Church Road                                               Contingent
 Piedmont, SC, 29673                                                    Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      4,990.50
                                                                                                                     $________________________________
 Amoretti                                                            Check all that apply.
 451 Lombard Street                                                     Contingent
 Oxnard, CA, 93030                                                      Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 ARAMARK                                                             Check all that apply.
                                                                                                                       53,376.56
                                                                                                                     $________________________________
 PO Box 731676                                                          Contingent
 Dallas, TX, 75373-1676                                                 Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             77,867.74
                                                                                                                     $________________________________
 Archer Daniels Midland Co.                                             Contingent
 P.O. Box 745086                                                        Unliquidated
 Atlanta, GA, 30374-5086                                                Disputed

                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       4,610.00
                                                                                                                     $________________________________
 Arvo Distribution, LLC
 PO Box 6647                                                            Contingent
 Chicago, IL, 60680-6647                                                Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 ASM LLC dba Advantage Tri Venture                                   Check all that apply.
                                                                                                                      685.54
                                                                                                                     $________________________________
 PO Box 744443                                                          Contingent
 Atlanta, GA, 30374-4443                                                Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      3,732.14
                                                                                                                     $________________________________
 Associated Brokers                                                  Check all that apply.
 4290 Bells Ferry Road                                                  Contingent
 Suite 134-571                                                          Unliquidated
 Kennesaw, GA, 30144                                                    Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Atlantic Corporation                                                Check all that apply.
                                                                                                                       600,760.73
                                                                                                                     $________________________________
 PO Box 60002                                                           Contingent
 Charlotte, NC, 28260                                                   Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             572.31
                                                                                                                     $________________________________
 Automationdirect.com, Inc.                                             Contingent
 P.O. Box 402417                                                        Unliquidated
 Atlanta, GA, 30384                                                     Disputed

                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       2,924.13
                                                                                                                     $________________________________
 B&D Technologies
 P.O. Box 16922                                                         Contingent
 Atlanta, GA, 30321-0922                                                Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 B.A.K.E. Marketing Corporation                                      Check all that apply.
                                                                                                                      284.03
                                                                                                                     $________________________________
 1442 Highway 96                                                        Contingent
 Burns, TN, 37029                                                       Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      55,803.74
                                                                                                                     $________________________________
 BB&T                                                                Check all that apply.
 P.O. Box 580340                                                        Contingent
 Charlotte, NC, 28258-0340                                              Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 BDI                                                                 Check all that apply.
                                                                                                                       1,272.71
                                                                                                                     $________________________________
 P.O. Box 74069                                                         Contingent
 Cleveland, OH, 44194                                                   Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             3,033.60
                                                                                                                     $________________________________
 Best Pack Solutions                                                    Contingent
 PO Box 2043                                                            Unliquidated
 Fountain Inn, SC, 29644                                                Disputed

                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       37,000.00
                                                                                                                     $________________________________
 Better Than Found
 25 Woods Lake Road                                                     Contingent
 Suite 105                                                              Unliquidated
 Greenville, SC, 29607                                                  Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  24
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Blue Azalea, LLC                                                    Check all that apply.
                                                                                                                      77,660.69
                                                                                                                     $________________________________
 PO Box 1107                                                            Contingent
 Effingham, IL, 62401                                                   Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  25
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      157.63
                                                                                                                     $________________________________
 Border States Industries, Inc.                                      Check all that apply.
 PO Box 603585                                                          Contingent
 Charlotte, NC, 28260                                                   Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  26
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Brecoflex Co., LLC                                                  Check all that apply.
                                                                                                                       8,832.19
                                                                                                                     $________________________________
 222 Industrial Way West                                                Contingent
 Eatontown, NJ, 07724                                                   Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  27
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             51,493.63
                                                                                                                     $________________________________
 Brenntag Mid-South, Inc.                                               Contingent
 3796 Reliable Pkwy                                                     Unliquidated
 Chicago, IL, 60686                                                     Disputed

                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  28
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       69,922.50
                                                                                                                     $________________________________
 Brill, Inc.
 P.O. Box 920077                                                        Contingent
 Atlanta, GA, 30392-0077                                                Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  29
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 BW Clark, Inc.                                                      Check all that apply.
                                                                                                                      1,918.33
                                                                                                                     $________________________________
 PO Box 41                                                              Contingent
 Columbia, SC, 29202                                                    Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  30
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      94,933.93
                                                                                                                     $________________________________
 Cargrill, Inc.                                                      Check all that apply.
 PO Box 741034                                                          Contingent
 Atlanta, GA, 30374                                                     Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  31
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Carolina Express Couriers                                           Check all that apply.
                                                                                                                       595.00
                                                                                                                     $________________________________
 P O Box 327                                                            Contingent
 Greenville, SC, 29602                                                  Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  32
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             5,946.00
                                                                                                                     $________________________________
 Carolina Handling, LLC                                                 Contingent
 P.O. Box 890352                                                        Unliquidated
 Charlotte, NC, 28289                                                   Disputed

                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  33
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       676.00
                                                                                                                     $________________________________
 Carolina Lift Stations
 PO Box 746                                                             Contingent
 York, SC, 29745                                                        Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  34
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Carolina Pallets & Recycling                                        Check all that apply.
                                                                                                                      10,111.00
                                                                                                                     $________________________________
 PO Box 843                                                             Contingent
 Simpsonville, SC, 29681                                                Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  35
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      975.00
                                                                                                                     $________________________________
 Carolina Scales                                                     Check all that apply.
 P. O. Box 8233                                                         Contingent
 Columbia, SC, 29202                                                    Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  36
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Carson's Nut-Bolt & Tool, Co.                                       Check all that apply.
                                                                                                                       1,694.42
                                                                                                                     $________________________________
 P.O. Box 3629                                                          Contingent
 Greenville, SC, 29608                                                  Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  37
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             2,058.16
                                                                                                                     $________________________________
 Cat Techs Plus                                                         Contingent
 107 Winyah Ct                                                          Unliquidated
 Simpsonville, SC, 29681                                                Disputed

                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  38
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       19,864.05
                                                                                                                     $________________________________
 Celebration Elegant Desserts, LLC
 4165 Mendenhall Oaks Pkw                                               Contingent
 High Point, NC, 27265                                                  Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  39
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Century Printing & Packaging                                        Check all that apply.
                                                                                                                      57,976.79
                                                                                                                     $________________________________
 PO. Box 2358                                                           Contingent
 Greer, SC, 29652                                                       Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  40
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      779.78
                                                                                                                     $________________________________
 Certified Laboratories                                              Check all that apply.
 23261 Network Place                                                    Contingent
 Chicago, IL, 60673-1232                                                Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  41
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 CH Robinson Worldwide, Inc.                                         Check all that apply.
                                                                                                                       18,303.65
                                                                                                                     $________________________________
 PO Box 9121                                                            Contingent
 Minneapolis, MN, 55480                                                 Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  42
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                      Check all that apply.                             8,545.00
                                                                                                                      $________________________________
 Cherry Bekaert, LLP                                                     Contingent
 PO Box 25549                                                            Unliquidated
 Richmond, VA, 23260-5500                                                Disputed

                                                                      Basis for the claim: Services



                                                                      Is the claim subject to offset?
        Date or dates debt was incurred        ___________________
                                                                      
                                                                      ✔
                                                                          No
                                                                         Yes
        Last 4 digits of account number        ___________________
  43
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
                                                                                                                        2,050.00
                                                                                                                      $________________________________
 ClearWater, Inc.
 PO box 1469                                                             Contingent
 Hickory, NC, 28603                                                      Unliquidated
                                                                         Disputed

                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        ___________________
                                                                      
                                                                      ✔
                                                                          No
                                                                         Yes
  44
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 CMC Foods, Inc.                                                      Check all that apply.
                                                                                                                       46,020.80
                                                                                                                      $________________________________
 PO Box 28324                                                            Contingent
 Kansas City, MO, 64118                                                  Unliquidated
                                                                         Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
        Last 4 digits of account number        __________________     
                                                                      ✔
                                                                          No
                                                                         Yes
  45
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       4,550.00
                                                                                                                      $________________________________
 Colonial Chemical Solutions, Inc.                                    Check all that apply.
 P O Box 743239                                                          Contingent
 Atlanta, GA, 30374                                                      Unliquidated
                                                                         Disputed

                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ___________________    Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                          No
        Last 4 digits of account number        ___________________       Yes
  46
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
 Consolidated Electrical Distributors, Inc.                           Check all that apply.
                                                                                                                        5,497.92
                                                                                                                      $________________________________
 PO Box 936240                                                           Contingent
 Atlanta, GA, 31193                                                      Unliquidated
                                                                         Disputed
                                                                      Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        ____________________   Is the claim subject to offset?
                                                                      
                                                                      ✔
                                                                          No
        Last 4 digits of account number        ___________________       Yes




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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  47
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             382,750.25
                                                                                                                     $________________________________
 Creative Baking Solutions, LLC                                         Contingent
 13791 East Rice Place                                                  Unliquidated
 Ste 116                                                                Disputed
 Aurora, CO, 80015
                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  48
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       318.00
                                                                                                                     $________________________________
 Cromer Food Services
 PO Box 1447                                                            Contingent
 Anderson, SC, 29622                                                    Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  49
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dash Courier & Logistics                                            Check all that apply.
                                                                                                                      5,671.54
                                                                                                                     $________________________________
 P O Box 11049                                                          Contingent
 Charlotte, NC, 28220                                                   Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  50
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      52,112.88
                                                                                                                     $________________________________
 Dawn Food Products                                                  Check all that apply.
 PO Box 71585                                                           Contingent
 Chicago, IL, 60694                                                     Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  51
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Decopac, Inc.                                                       Check all that apply.
                                                                                                                       5,351.60
                                                                                                                     $________________________________
 SDS 12-0871                                                            Contingent
 PO Box 86                                                              Unliquidated
 Minneapolis, MN, 55486-0871                                            Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  52
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             3,177.52
                                                                                                                     $________________________________
 Dell Business Credit                                                   Contingent
 Payment Processing Center                                              Unliquidated
 PO Box 5275                                                            Disputed
 Carol Stream, IL, 60197-5275
                                                                     Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  53
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       47,356.36
                                                                                                                     $________________________________
 Delta Electrical Contractors
 600 Apple Valley Road                                                  Contingent
 Duncan, SC, 29334                                                      Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  54
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Digi-Key Electronics                                                Check all that apply.
                                                                                                                      49.04
                                                                                                                     $________________________________
 701 Brooks Ave South                                                   Contingent
 PO Box 677                                                             Unliquidated
 Thief River Falls, MN, 56701-0677                                      Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  55
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39,829.00
                                                                                                                     $________________________________
 Direct Connect Logistix, Inc.                                       Check all that apply.
 314 W. Michigan Street                                                 Contingent
 Indianapolis, IN, 46202                                                Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  56
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 DNV GL Business                                                     Check all that apply.
                                                                                                                       8,576.63
                                                                                                                     $________________________________
 Assurance USA, Inc.                                                    Contingent
 PO Box 74008806                                                        Unliquidated
 Chicago, IL, 60674                                                     Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  57
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             1,162.11
                                                                                                                     $________________________________
 Douglas Machines Corp.                                                 Contingent
 4500 110Th Ave. N                                                      Unliquidated
 Clearwater, FL, 33762                                                  Disputed

                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  58
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       850.00
                                                                                                                     $________________________________
 DRW Transport, LLC
 442 Flint Hill Dr                                                      Contingent
 Pickens, SC, 29671                                                     Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  59
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Dunbar Systems, Inc.                                                Check all that apply.
                                                                                                                      204,752.08
                                                                                                                     $________________________________
 1186 Walter Street                                                     Contingent
 Lemont, IL, 60439                                                      Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  60
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      13,639.19
                                                                                                                     $________________________________
 Electric Motors and Drives, Inc.                                    Check all that apply.
 P. O. Box 2565                                                         Contingent
 Anderson, SC, 29622                                                    Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  61
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Equator Design, Inc.                                                Check all that apply.
                                                                                                                       1,920.00
                                                                                                                     $________________________________
 PO Box 536634                                                          Contingent
 Pittsburg, PA, 15253-5908                                              Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  62
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             1,138.40
                                                                                                                     $________________________________
 ET Oakes Corporation                                                   Contingent
 686 Old Willets Path                                                   Unliquidated
 Hauppauge, NY, 11788-4102                                              Disputed

                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  63
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       1,622.04
                                                                                                                     $________________________________
 Fastec Services Co.
 1014 Fort Jackson Road                                                 Contingent
 Charleston, SC, 29412                                                  Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  64
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Federal Express                                                     Check all that apply.
                                                                                                                      1,329.84
                                                                                                                     $________________________________
 P O Box 371461                                                         Contingent
 Pittsburgh, PA, 15250                                                  Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  65
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      19,920.00
                                                                                                                     $________________________________
 FlavorSum                                                           Check all that apply.
 P.O. Box 2153                                                          Contingent
 Kalamazoo, MI, 49003                                                   Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  66
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Fox Rothschild LLP Attorneys                                        Check all that apply.
                                                                                                                       11,747.50
                                                                                                                     $________________________________
 2 W Washington St                                                      Contingent
 Suite 1100                                                             Unliquidated
 Greenville, SC, 29601                                                  Disputed
                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  67
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             2,046.90
                                                                                                                     $________________________________
 Frontier Food Brokerage                                                Contingent
 PO Box 776111                                                          Unliquidated
 Chicago, IL, 60677                                                     Disputed

                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  68
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       18,074.92
                                                                                                                     $________________________________
 Garrett & Garrett
 PO Box 36                                                              Contingent
 Chicago, IL, 60677                                                     Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  69
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gasparini Sales                                                     Check all that apply.
                                                                                                                      1,090.20
                                                                                                                     $________________________________
 917 Granger Road                                                       Contingent
 Syracuse, NY, 13219                                                    Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  70
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      5,398.00
                                                                                                                     $________________________________
 Global Electronic Services, Inc.                                    Check all that apply.
 5325 Palmero Court                                                     Contingent
 Buford, GA, 30518                                                      Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  71
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Global Equipment Company                                            Check all that apply.
                                                                                                                       3,215.83
                                                                                                                     $________________________________
 29833 Network Place                                                    Contingent
 Chicago, IL, 60673                                                     Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  72
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             4,012.20
                                                                                                                     $________________________________
 Gloves Plus, Inc.                                                      Contingent
 227 Neely Ferry Road                                                   Unliquidated
 Simpsonville, SC, 29680                                                Disputed

                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  73
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       13,225.52
                                                                                                                     $________________________________
 Grainger
 Dept. 834949935                                                        Contingent
 Palatine, IL, 60038                                                    Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  74
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Great American Insurance Company                                    Check all that apply.
                                                                                                                      5,833.33
                                                                                                                     $________________________________
 Attn: John Dougherty                                                   Contingent
 301 East Fourth Street                                                 Unliquidated
 Cincinnati, OH, 45202-4201                                             Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  75
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      39,691.86
                                                                                                                     $________________________________
 Great American Insurance Group                                      Check all that apply.
 P O Box 89400                                                          Contingent
 Cleveland, OH, 44101-6400                                              Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  76
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Gregory of Greenville                                               Check all that apply.
                                                                                                                       2,631.56
                                                                                                                     $________________________________
 P.O. Box 6713                                                          Contingent
 Greenville, SC, 29606                                                  Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  77
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             17,446.44
                                                                                                                     $________________________________
 Guardian Worksite                                                      Contingent
 P O Box 826486                                                         Unliquidated
 Philadelphia, PA, 19182-6486                                           Disputed

                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  78
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       591,100.75
                                                                                                                     $________________________________
 Hardman Distribution
 2545 Ivy Street East                                                   Contingent
 Cumming, GA, 30041                                                     Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  79
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hartford Insurance                                                  Check all that apply.
                                                                                                                      98,536.00
                                                                                                                     $________________________________
 690 Asylum Avenue                                                      Contingent
 Hartford                                                               Unliquidated
 Hartford, CT, 06155                                                    Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  80
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      2,628.27
                                                                                                                     $________________________________
 Hobart Service/ITW Food Equip                                       Check all that apply.
 PO Box 2517                                                            Contingent
 Carol Stream, IL, 60132                                                Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  81
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Horizon Equipment                                                   Check all that apply.
                                                                                                                       1,387.64
                                                                                                                     $________________________________
 1960 Seneca Road                                                       Contingent
 Saint Paul, MN, 55122                                                  Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  82
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             49,966.00
                                                                                                                     $________________________________
 Human Technologies                                                     Contingent
 105 N. Spring St Ste 200                                               Unliquidated
 Greenville, SC, 29601                                                  Disputed

                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  83
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       173.64
                                                                                                                     $________________________________
 Hydradyne, LLC
 PO Box 974799                                                          Contingent
 Dallas, TX, 75397-4799                                                 Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  84
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hygiena                                                             Check all that apply.
                                                                                                                      1,763.84
                                                                                                                     $________________________________
 Attn: Accounts Receivable                                              Contingent
 941 Avenida Acaso                                                      Unliquidated
 Camarillo, CA, 93012                                                   Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  85
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      8,513.40
                                                                                                                     $________________________________
 ID Technology                                                       Check all that apply.
 PO Box 73419                                                           Contingent
 Cleveland, OH, 44193                                                   Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  86
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Industry Built Software, Ltd                                        Check all that apply.
                                                                                                                       30,056.00
                                                                                                                     $________________________________
 PO Box 743722                                                          Contingent
 Atlanta, GA, 30374                                                     Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  87
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             1,970.50
                                                                                                                     $________________________________
 Insight Financial Staffing                                             Contingent
 48 Parkway Commons Way                                                 Unliquidated
 Greer, SC, 29650                                                       Disputed

                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  88
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       34,742.00
                                                                                                                     $________________________________
 Integrity Express Logistics
 62488 Collections Center Drive                                         Contingent
 Chicago, IL, 60693-0624                                                Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  89
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 International Bakers Services                                       Check all that apply.
                                                                                                                      11,982.36
                                                                                                                     $________________________________
 1902 N. Sheridan Ave.                                                  Contingent
 South Bend, IN, 46628                                                  Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  90
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      14,400.00
                                                                                                                     $________________________________
 Ise Newberry, Inc.                                                  Check all that apply.
 PO Box 758                                                             Contingent
 Newberry, SC, 29108                                                    Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  91
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Jason Pruitt Septic Tank Service                                    Check all that apply.
                                                                                                                       3,450.00
                                                                                                                     $________________________________
 PO Box 118                                                             Contingent
 Roebuck, SC, 29376                                                     Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  92
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             13,729.49
                                                                                                                     $________________________________
 JAX Refrigeration                                                      Contingent
 901 7th Avenue South                                                   Unliquidated
 Jacksonville Beach, FL, 32250                                          Disputed

                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  93
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       258.27
                                                                                                                     $________________________________
 JCS Sales, LLC
 Attn: Drew Hembree                                                     Contingent
 PO Box 1158                                                            Unliquidated
 Abingdon, VA, 24212                                                    Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  94
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 JRP Company                                                         Check all that apply.
                                                                                                                      21,361.68
                                                                                                                     $________________________________
 1619 Patterson Plant Road                                              Contingent
 Enoree, SC, 29335                                                      Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  95
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      447,447.74
                                                                                                                     $________________________________
 JWC Environmental Inc.                                              Check all that apply.
 PO Box 3147                                                            Contingent
 Cumming, GA, 30028                                                     Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  96
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Keck's Food Service                                                 Check all that apply.
                                                                                                                       3,600.00
                                                                                                                     $________________________________
 2796 Route 328                                                         Contingent
 Millerton, PA, 16936                                                   Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  97
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             20,421.71
                                                                                                                     $________________________________
 Labor Finders of SC, Inc.                                              Contingent
 PO Box 282                                                             Unliquidated
 Greenville, SC, 29602                                                  Disputed

                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  98
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       162,880.30
                                                                                                                     $________________________________
 Labor Finders Spartanburg
 PO Box 1131                                                            Contingent
 Spartanburg, SC, 29304                                                 Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  99
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Landford Industrial Services Co.                                    Check all that apply.
                                                                                                                      266,149.38
                                                                                                                     $________________________________
 P O Box 366                                                            Contingent
 Clinton, SC, 29325                                                     Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  100
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      118,558.73
                                                                                                                     $________________________________
 Laurens Commission of Public Works                                  Check all that apply.
 PO Box 580476                                                          Contingent
 Charlotte, NC, 28258                                                   Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  101
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Laurens Tool, Inc.                                                  Check all that apply.
                                                                                                                       2,928.00
                                                                                                                     $________________________________
 408 Templeton Rd                                                       Contingent
 PO Box 365                                                             Unliquidated
 Laurens, SC, 29360                                                     Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  102
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             7,715.68
                                                                                                                    $________________________________
 Mallet & Company, Inc.                                                Contingent
 563 Napor Blvd                                                        Unliquidated
 Suite 195                                                             Disputed
 Pittsburgh, PA, 15205
                                                                    Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  103
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      700.75
                                                                                                                    $________________________________
 Marlin Capital Solutions
 P O Box 13604                                                         Contingent
 Philadelphia, PA, 19101-3604                                          Unliquidated
                                                                       Disputed

                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  104
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Matson Logistics, Inc.                                             Check all that apply.
                                                                                                                     3,146.00
                                                                                                                    $________________________________
 PO Box 99074                                                          Contingent
 Chicago, IL, 60693                                                    Unliquidated
                                                                       Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  105
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     28,724.49
                                                                                                                    $________________________________
 MAU Workforce Solutions                                            Check all that apply.
 DEPT#40301                                                            Contingent
 P O Box 2153                                                          Unliquidated
 Birmingham, AL, 35287                                                 Disputed

                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  106
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 McMaster-Carr                                                      Check all that apply.
                                                                                                                      22,101.59
                                                                                                                    $________________________________
 P.O. Box 7690                                                         Contingent
 Chicago, IL, 60680                                                    Unliquidated
                                                                       Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ____________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  107
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             18,482.00
                                                                                                                    $________________________________
 Mechanical Equipment Company                                          Contingent
 PO Box 689                                                            Unliquidated
 Matthews, NC, 28106                                                   Disputed

                                                                    Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  108
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      3,620.00
                                                                                                                    $________________________________
 Mekitec US, LLC
 2900 Gateway Drive                                                    Contingent
 Suite 635                                                             Unliquidated
 Irving, TX, 75063                                                     Disputed

                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  109
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Menasha Packaging Company                                          Check all that apply.
                                                                                                                     761.25
                                                                                                                    $________________________________
 75 Remittance Drive                                                   Contingent
 Dept. 6970                                                            Unliquidated
 Chicago, IL, 60675                                                    Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  110
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     137,368.65
                                                                                                                    $________________________________
 Messer, LLC                                                        Check all that apply.
 88718 Expedite Way                                                    Contingent
 Chicago, IL, 60695                                                    Unliquidated
                                                                       Disputed

                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  111
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Mettler-Toledo, LLC                                                Check all that apply.
                                                                                                                      755.00
                                                                                                                    $________________________________
 PO Box 730867                                                         Contingent
 Dallas, TX, 75373-0867                                                Unliquidated
                                                                       Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ____________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  112
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             3,000.00
                                                                                                                    $________________________________
 Mid Carolina Environmental Equip, LLC                                 Contingent
 11 Kin Loch Road                                                      Unliquidated
 Lugoff, SC, 29078                                                     Disputed

                                                                    Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  113
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      983.75
                                                                                                                    $________________________________
 Modern Material Handling
 P.O. Box 5658                                                         Contingent
 Greenville, SC, 29606                                                 Unliquidated
                                                                       Disputed

                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  114
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 MoLo Solutions, LLC                                                Check all that apply.
                                                                                                                     28,885.00
                                                                                                                    $________________________________
 Lockbox Receivables                                                   Contingent
 PO Box 7050                                                           Unliquidated
 Carol Stream, IL, 60197-7050                                          Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  115
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     3,994.43
                                                                                                                    $________________________________
 Mother Murphy's                                                    Check all that apply.
 PO Box 16846                                                          Contingent
 Greensboro, NC, 27416-0846                                            Unliquidated
                                                                       Disputed

                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  116
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Motion Industries                                                  Check all that apply.
                                                                                                                      1,778.05
                                                                                                                    $________________________________
 P.O. Box 404130                                                       Contingent
 Atlanta, GA, 30384                                                    Unliquidated
                                                                       Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ____________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  117
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             7,175.00
                                                                                                                    $________________________________
 National Risk Solutions, LLC                                          Contingent
 1558 Central Ave                                                      Unliquidated
 Suite 7C                                                              Disputed
 Fort Lee, NJ, 07024
                                                                    Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  118
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      40,500.00
                                                                                                                    $________________________________
 Naturipe Value Added Foods, LLC
 PO Box 631231                                                         Contingent
 Cincinnati, OH, 45263-1231                                            Unliquidated
                                                                       Disputed

                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  119
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Naylor                                                             Check all that apply.
                                                                                                                     29,204.93
                                                                                                                    $________________________________
 455 North Service Road East                                           Contingent
 Oakville, ON                                                          Unliquidated
 ON L6H 1A5 CANADA                                                     Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  120
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     32,029.17
                                                                                                                    $________________________________
 Nelson Diecutting & Packaging, Inc.                                Check all that apply.
 P.O. Box 171444                                                       Contingent
 Spartanburg, SC, 29301                                                Unliquidated
                                                                       Disputed

                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  121
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Newburg Egg Corp.                                                  Check all that apply.
                                                                                                                      130,460.00
                                                                                                                    $________________________________
 PO Box 175                                                            Contingent
 Woodridge, NY, 12789                                                  Unliquidated
                                                                       Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ____________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  122
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             3,000.00
                                                                                                                    $________________________________
 Nexcor Technologies                                                   Contingent
 P.O. Box 1959                                                         Unliquidated
 Suwanee, GA, 30024                                                    Disputed

                                                                    Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  123
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      975.00
                                                                                                                    $________________________________
 Nexsen Pruet, LLC
 PO Drawer 2426                                                        Contingent
 Columbia, SC, 29202                                                   Unliquidated
                                                                       Disputed

                                                                    Basis for the claim: Services



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  124
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 NIC Systems, Inc.                                                  Check all that apply.
                                                                                                                     2,130.00
                                                                                                                    $________________________________
 150 Jardin Drive, Unit 10                                             Contingent
 Concord, ON 14k 3p9 CANADA                                            Unliquidated
                                                                       Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  125
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     4,646.78
                                                                                                                    $________________________________
 Office Depot                                                       Check all that apply.
 Dept 56-4203960967                                                    Contingent
 Phoenix, AZ, 85062-8004                                               Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  126
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Operators Unlimited                                                Check all that apply.
                                                                                                                      55,966.15
                                                                                                                    $________________________________
 590 Robin Lake Rd.                                                    Contingent
 Greenville, SC, 29606                                                 Unliquidated
                                                                       Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred      ____________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  127
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             10,440.00
                                                                                                                    $________________________________
 Orthodox Union                                                        Contingent
 Eleven Broadway                                                       Unliquidated
 13th Floor                                                            Disputed
 New York, NJ, 10004
                                                                    Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  128
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      995.00
                                                                                                                    $________________________________
 Pace Analytical Services, LLC
 PO Box 684056                                                         Contingent
 Chicago, IL, 60695-4056                                               Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  129
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 PC Connection Sales Corp.                                          Check all that apply.
                                                                                                                     2,380.40
                                                                                                                    $________________________________
 DBA Connection                                                        Contingent
 PO Box 536472                                                         Unliquidated
 Pittsburgh, PA, 15253-5906                                            Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  130
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     3,228.40
                                                                                                                    $________________________________
 Penske Truck Leasing Co., Inc.                                     Check all that apply.
 PO Box 532658                                                         Contingent
 Atlanta, GA, 30353                                                    Unliquidated
                                                                       Disputed

                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  131
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Perishable Sales, Inc.                                             Check all that apply.
                                                                                                                      1,762.24
                                                                                                                    $________________________________
 165 Hansen Court #100                                                 Contingent
 Wood Dale, IL, 60191                                                  Unliquidated
                                                                       Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ____________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  132
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             14,916.40
                                                                                                                    $________________________________
 Phillips Recoveries, Inc.                                             Contingent
 450 Cherokee Rd                                                       Unliquidated
 Pelzer, SC, 29669                                                     Disputed

                                                                    Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  133
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      9,051.53
                                                                                                                    $________________________________
 Pinnacle Bank
 Cardmember Services                                                   Contingent
 PO Box 306005                                                         Unliquidated
 Nashville, TN, 37230-6005                                             Disputed

                                                                    Basis for the claim: Credit Card Debt



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  134
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Polar Tech Industries                                              Check all that apply.
                                                                                                                     1,268.03
                                                                                                                    $________________________________
 Payment Processing                                                    Contingent
 PO Box 5930                                                           Unliquidated
 Bloomington, IL, 6170                                                 Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  135
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     560.17
                                                                                                                    $________________________________
 PRTC                                                               Check all that apply.
 PO Box 1026                                                           Contingent
 Laurens, SC, 29360                                                    Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  136
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Pye Barker                                                         Check all that apply.
                                                                                                                      3,566.51
                                                                                                                    $________________________________
 PO Box 714812                                                         Contingent
 Cincinnati, OH, 45271                                                 Unliquidated
                                                                       Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred      ____________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  137
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             5,724.00
                                                                                                                    $________________________________
 Rain for Rent                                                         Contingent
 4350 Golf Acres Dr.                                                   Unliquidated
 Charlotte, NC, 28208                                                  Disputed

                                                                    Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  138
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      32,572.80
                                                                                                                    $________________________________
 Randstad Staffing Services
 PO Box 277075                                                         Contingent
 Atlanta, GA, 30384                                                    Unliquidated
                                                                       Disputed

                                                                    Basis for the claim: Services



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  139
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Ready Refresh by Nestle                                            Check all that apply.
                                                                                                                     51.59
                                                                                                                    $________________________________
 PO Box 856192                                                         Contingent
 Louisville, KY, 40285-6192                                            Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  140
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     612.00
                                                                                                                    $________________________________
 Records Reduction                                                  Check all that apply.
 2031-F Independence Commerce Dr.                                      Contingent
 Matthews, NC, 28105                                                   Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  141
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Renewable Water Resources                                          Check all that apply.
                                                                                                                      10,971.65
                                                                                                                    $________________________________
 561 Mauldin Dr.                                                       Contingent
 Greenville, SC, 29607                                                 Unliquidated
                                                                       Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred      ____________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  142
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             8,834.82
                                                                                                                    $________________________________
 Republic Services #744                                                Contingent
 PO Box 9001099                                                        Unliquidated
 Louisville, KY, 40290                                                 Disputed

                                                                    Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  143
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      11,296.00
                                                                                                                    $________________________________
 Resource Electric, LLC
 2854 Hwy 72 West                                                      Contingent
 Clinton, SC, 29325                                                    Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  144
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Rogers & Callcott                                                  Check all that apply.
                                                                                                                     36.75
                                                                                                                    $________________________________
 PO Box 5655                                                           Contingent
 Greenville, SC, 29606                                                 Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  145
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     8,582.30
                                                                                                                    $________________________________
 RTI, Inc.                                                          Check all that apply.
 103 High Pointe Dr.                                                   Contingent
 Blythewood, SC, 29016                                                 Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  146
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Segra                                                              Check all that apply.
                                                                                                                      1,034.57
                                                                                                                    $________________________________
 PO Box 631140                                                         Contingent
 Cincinnati, OH, 45263-1140                                            Unliquidated
                                                                       Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ____________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  147
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             280.00
                                                                                                                    $________________________________
 Seltrol, Inc.                                                         Contingent
 PO Box 17739                                                          Unliquidated
 Greenville, SC, 29606                                                 Disputed

                                                                    Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  148
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      3,034.43
                                                                                                                    $________________________________
 Sensient Colors, LLC
 62453 Collections Center Dr.                                          Contingent
 Chicago, IL, 60693                                                    Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  149
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Shoes For Crews, LLC                                               Check all that apply.
                                                                                                                     373.50
                                                                                                                    $________________________________
 PO Box 734176                                                         Contingent
 Chicago, IL, 60673-4176                                               Unliquidated
                                                                       Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  150
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     347.98
                                                                                                                    $________________________________
 Silliker, Inc.                                                     Check all that apply.
 111 E. Wacker Dr.                                                     Contingent
 Suite 2300                                                            Unliquidated
 Chicago, IL, 60601                                                    Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  151
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Sonoco Recycling, LLC                                              Check all that apply.
                                                                                                                      152.95
                                                                                                                    $________________________________
 91218 Collection Center Dr.                                           Contingent
 Chicago, IL, 60693                                                    Unliquidated
                                                                       Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ____________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  152
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             5,136.07
                                                                                                                    $________________________________
 Southeast Industrial Equipment                                        Contingent
 PO Box 63230                                                          Unliquidated
 Charlotte, NC, 28263-3230                                             Disputed

                                                                    Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  153
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      35,452.17
                                                                                                                    $________________________________
 Southeastern Paper Group, Inc.
 PO Box 890671                                                         Contingent
 Charlotte, NC, 28289                                                  Unliquidated
                                                                       Disputed

                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  154
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Southwest Engineers                                                Check all that apply.
                                                                                                                     5,228.72
                                                                                                                    $________________________________
 PO Box 2499                                                           Contingent
 Slidell, LA, 70459                                                    Unliquidated
                                                                       Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  155
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     803.25
                                                                                                                    $________________________________
 Star2Star Communications                                           Check all that apply.
 PO Box 97231                                                          Contingent
 Las Vegas, NV, 89193-7231                                             Unliquidated
                                                                       Disputed

                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  156
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Stokes Blueberries FreshPro, Inc.                                  Check all that apply.
                                                                                                                      58,316.50
                                                                                                                    $________________________________
 54239 14th Ave.                                                       Contingent
 Grand Junction, MI, 49056                                             Unliquidated
                                                                       Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ____________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  157
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             14,282.67
                                                                                                                    $________________________________
 Synergy Flavors, Inc.                                                 Contingent
 1500 Synergy Dr.                                                      Unliquidated
 Wauconda, IL, 60084                                                   Disputed

                                                                    Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  158
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      5,568.00
                                                                                                                    $________________________________
 Tamarkin Company
 375 Victoria Rd                                                       Contingent
 Youngstown, OH, 44515                                                 Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  159
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Teachey Mechanical, Inc.                                           Check all that apply.
                                                                                                                     2,270.52
                                                                                                                    $________________________________
 PO Box 339                                                            Contingent
 Simpsonville, SC, 29681                                               Unliquidated
                                                                       Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  160
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     237.34
                                                                                                                    $________________________________
 TempTrip, LLC                                                      Check all that apply.
 435 Martin Street                                                     Contingent
 Suite 2020                                                            Unliquidated
 Blaine, WA, 98230                                                     Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  161
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Tennant Sales & Service Co                                         Check all that apply.
                                                                                                                      1,244.59
                                                                                                                    $________________________________
 PO Box 71414                                                          Contingent
 Chicago, IL, 60694-1414                                               Unliquidated
                                                                       Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ____________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  162
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             4,037.61
                                                                                                                    $________________________________
 The Fred D. Pfening Co., Inc.                                         Contingent
 1075 West Fifth Ave                                                   Unliquidated
 Columbus, OH, 43212-2691                                              Disputed

                                                                    Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  163
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      83,519.00
                                                                                                                    $________________________________
 Tielman North America, LTD
 180 Middlefield Rd.                                                   Contingent
 Scarorough, ON                                                        Unliquidated
 M1S 4MS                                                               Disputed

                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  164
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Total Quality Logistics                                            Check all that apply.
                                                                                                                     128,643.87
                                                                                                                    $________________________________
 PO Box 634558                                                         Contingent
 Cincinnati, OH, 45263                                                 Unliquidated
                                                                       Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  165
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     11,357.36
                                                                                                                    $________________________________
 Toyota Industries Commercial Finance                               Check all that apply.
 PO Box 660926                                                         Contingent
 Dallas, TX, 75266                                                     Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  166
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Transamerica Employee Benefits                                     Check all that apply.
                                                                                                                      364.04
                                                                                                                    $________________________________
 PO Box 634558                                                         Contingent
 Dallas, TX, 75266-3005                                                Unliquidated
                                                                       Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ____________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  167
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             3,044.84
                                                                                                                    $________________________________
 TSR Marketing                                                         Contingent
 4043 Windsor Park Drive E.                                            Unliquidated
 Jacksonville, FL, 32224                                               Disputed

                                                                    Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  168
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      26,525.12
                                                                                                                    $________________________________
 U.S. Foodservice, Inc.
 PO Box 602292                                                         Contingent
 Charlotte, NC, 28260-2292                                             Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  169
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Uline                                                              Check all that apply.
                                                                                                                     18,756.81
                                                                                                                    $________________________________
 Attn: AR                                                              Contingent
 PO Box 88741                                                          Unliquidated
 Chicago, IL, 60680                                                    Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  170
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     4,399.03
                                                                                                                    $________________________________
 Unifiller Systems                                                  Check all that apply.
 7621 MacDonald Rd                                                     Contingent
 Delta, BC                                                             Unliquidated
 V4G 1N3 Canada                                                        Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  171
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 United Chemical Supply                                             Check all that apply.
                                                                                                                      6,440.65
                                                                                                                    $________________________________
 PO Box 5066                                                           Contingent
 Greenville, SC, 29606                                                 Unliquidated
                                                                       Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ____________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  172
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             2,772.03
                                                                                                                    $________________________________
 United Parcel Service                                                 Contingent
 PO Box 809488                                                         Unliquidated
 Chicago, IL, 60680-9488                                               Disputed

                                                                    Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  173
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      137,959.58
                                                                                                                    $________________________________
 Universal Packaging
 PO Box 297                                                            Contingent
 Reidville, SC, 29375                                                  Unliquidated
                                                                       Disputed

                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  174
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Upstate Door Co, Inc.                                              Check all that apply.
                                                                                                                     14,442.96
                                                                                                                    $________________________________
 PO Box 9195                                                           Contingent
 Greenville, SC, 29604                                                 Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  175
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     15,593.00
                                                                                                                    $________________________________
 UTICA National Insurance Group                                     Check all that apply.
 PO Box 6532                                                           Contingent
 Utica, NY, 13504-6532                                                 Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  176
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Vaughn Belting                                                     Check all that apply.
                                                                                                                      31,589.90
                                                                                                                    $________________________________
 PO Box 5505                                                           Contingent
 Spartanburg, SC, 29304                                                Unliquidated
                                                                       Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred      ____________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  177
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             1,065.50
                                                                                                                    $________________________________
 Veropak LTD                                                           Contingent
 73 Swaisland Dr.                                                      Unliquidated
 Crayford, Kent                                                        Disputed
 DAI 4HY United Kingdom
                                                                    Basis for the claim:



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  178
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      73,800.31
                                                                                                                    $________________________________
 Videojet Technologies, Inc.
 12113 Collection Center Dr.                                           Contingent
 Chicago, IL, 60693                                                    Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  179
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 VLS Recovery Services                                              Check all that apply.
                                                                                                                     20,305.40
                                                                                                                    $________________________________
 P O Box 4346                                                          Contingent
 Houston, TX, 77210                                                    Unliquidated
                                                                       Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  180
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     9,934.56
                                                                                                                    $________________________________
 Williams Scotsman, Inc                                             Check all that apply.
 PO Box 91975                                                          Contingent
 Chicago, IL, 60693-1975                                               Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________     Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes

3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                       Contingent
                                                                       Unliquidated
                                                                       Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred      ____________________    Is the claim subject to offset?
                                                                       No
        Last 4 digits of account number      ___________________       Yes




    Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page __
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              The Muffin Mam, Inc.        Doc 1      Filed 11/09/21 Entered 11/09/21 18:49:57 Desc Main
 Debtor        _______________________________________________________
               Name                                  Document     Page 44 of Case
                                                                              52 number (if known)_____________________________________
Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                         Total of claim amounts



5a. Total claims from Part 1                                                                  5a.
                                                                                                           314,574.43
                                                                                                         $_____________________________




5b. Total claims from Part 2                                                                  5b.   +      5,676,974.15
                                                                                                         $_____________________________




5c. Total of Parts 1 and 2                                                                                 5,991,548.58
                                                                                              5c.        $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                  page __
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                                                                                                                                              38
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                                United States Bankruptcy Court
                                District of South Carolina




         The Muffin Mam, Inc.
In re:                                                            Case No.

                                                                  Chapter    7
                     Debtor(s)




                                Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              11/09/2021                           /s/ Todd Littleton
Date:
                                                   Signature of Individual signing on behalf of debtor

                                                   CEO
                                                   Position or relationship to debtor
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1WorldSync                                             Atlantic Corporation
Dept. 781341                                           PO Box 60002
PO Box 78000                                           Charlotte, NC 28260
Detroit, MI 48278-1341
                                                       Automationdirect.com, Inc.
ACI Janitorial                                         P.O. Box 402417
PO Box 486                                             Atlanta, GA 30384
Greenville, SC 29602
                                                       B&D Technologies
Affinity Bakery Partners, LLC                          P.O. Box 16922
2928 Walden Avenue                                     Atlanta, GA 30321-0922
Depew, NY 14043
                                                       B.A.K.E. Marketing Corporation
AFLAC                                                  1442 Highway 96
ATTN: Remittance Processing                            Burns, TN 37029
1932 Wynnton Road
Columbus, GA 31999                                     BB&T
                                                       P.O. Box 580340
AG Freight, LLC                                        Charlotte, NC 28258-0340
650 Hurricane Creek Rd
Piedmont, SC 29673                                     BDI
                                                       P.O. Box 74069
Airgas USA, LLC                                        Cleveland, OH 44194
P.O. Box 734672
Dallas, TX 75373-4672                                  Best Pack Solutions
                                                       PO Box 2043
Alexander AC Services                                  Fountain Inn, SC 29644
125 Victor
Greer, SC 29651                                        Better Than Found
                                                       25 Woods Lake Road
Allied Electronics                                     Suite 105
P.O. Box 2325                                          Greenville, SC 29607
Fort Worth, TX 76113
                                                       Blue Azalea, LLC
Americold Piedmont SC                                  PO Box 1107
1619 Antioch Church Road                               Effingham, IL 62401
Piedmont, SC 29673
                                                       Border States Industries, Inc.
Amoretti                                               PO Box 603585
451 Lombard Street                                     Charlotte, NC 28260
Oxnard, CA 93030
                                                       Brecoflex Co., LLC
ARAMARK                                                222 Industrial Way West
PO Box 731676                                          Eatontown, NJ 07724
Dallas, TX 75373-1676
                                                       Brenntag Mid-South, Inc.
Archer Daniels Midland Co.                             3796 Reliable Pkwy
P.O. Box 745086                                        Chicago, IL 60686
Atlanta, GA 30374-5086
                                                       Brill, Inc.
Arvo Distribution, LLC                                 P.O. Box 920077
PO Box 6647                                            Atlanta, GA 30392-0077
Chicago, IL 60680-6647
                                                       BW Clark, Inc.
ASM LLC dba Advantage Tri Venture                      PO Box 41
PO Box 744443                                          Columbia, SC 29202
Atlanta, GA 30374-4443
                                                       Cargrill, Inc.
Associated Brokers                                     PO Box 741034
4290 Bells Ferry Road                                  Atlanta, GA 30374
Suite 134-571
Kennesaw, GA 30144
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Carolina Express Couriers                              Consolidated Electrical Distributors, Inc.
P O Box 327                                            PO Box 936240
Greenville, SC 29602                                   Atlanta, GA 31193

Carolina Handling, LLC                                 Creative Baking Solutions, LLC
P.O. Box 890352                                        13791 East Rice Place
Charlotte, NC 28289                                    Ste 116
                                                       Aurora, CO 80015
Carolina Lift Stations
PO Box 746                                             Cromer Food Services
York, SC 29745                                         PO Box 1447
                                                       Anderson, SC 29622
Carolina Pallets & Recycling
PO Box 843                                             Dash Courier & Logistics
Simpsonville, SC 29681                                 P O Box 11049
                                                       Charlotte, NC 28220
Carolina Scales
P. O. Box 8233                                         David B. Wheeler
Columbia, SC 29202                                     Moore & Van Allen PLLC
                                                       PO Box 22828
Carson's Nut-Bolt & Tool, Co.                          Charleston, SC 29413-2828
P.O. Box 3629
Greenville, SC 29608                                   Dawn Food Products
                                                       PO Box 71585
Cat Techs Plus                                         Chicago, IL 60694
107 Winyah Ct
Simpsonville, SC 29681                                 Decopac, Inc.
                                                       SDS 12-0871
Celebration Elegant Desserts, LLC                      PO Box 86
4165 Mendenhall Oaks Pkw                               Minneapolis, MN 55486-0871
High Point, NC 27265
                                                       Dell Business Credit
Century Printing & Packaging                           Payment Processing Center
PO. Box 2358                                           PO Box 5275
Greer, SC 29652                                        Carol Stream, IL 60197-5275

Certified Laboratories                                 Delta Electrical Contractors
23261 Network Place                                    600 Apple Valley Road
Chicago, IL 60673-1232                                 Duncan, SC 29334

CH Robinson Worldwide, Inc.                            Digi-Key Electronics
PO Box 9121                                            701 Brooks Ave South
Minneapolis, MN 55480                                  PO Box 677
                                                       Thief River Falls, MN 56701-0677
Cherry Bekaert, LLP
PO Box 25549                                           Direct Connect Logistix, Inc.
Richmond, VA 23260-5500                                314 W. Michigan Street
                                                       Indianapolis, IN 46202
ClearWater, Inc.
PO box 1469                                            DNV GL Business
Hickory, NC 28603                                      Assurance USA, Inc.
                                                       PO Box 74008806
CMC Foods, Inc.                                        Chicago, IL 60674
PO Box 28324
Kansas City, MO 64118                                  Douglas Machines Corp.
                                                       4500 110Th Ave. N
Colonial Chemical Solutions, Inc.                      Clearwater, FL 33762
P O Box 743239
Atlanta, GA 30374                                      DRW Transport, LLC
                                                       442 Flint Hill Dr
                                                       Pickens, SC 29671
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Dunbar Systems, Inc.                                  Great American Insurance Company
1186 Walter Street                                    Attn: John Dougherty
Lemont, IL 60439                                      301 East Fourth Street
                                                      Cincinnati, OH 45202-4201
Electric Motors and Drives, Inc.
P. O. Box 2565                                        Great American Insurance Group
Anderson, SC 29622                                    P O Box 89400
                                                      Cleveland, OH 44101-6400
Equator Design, Inc.
PO Box 536634                                         Greenville County Tax Collector
Pittsburg, PA 15253-5908                              Dept. 390
                                                      PO Box 100221
ET Oakes Corporation                                  Columbia, SC 29202-3221
686 Old Willets Path
Hauppauge, NY 11788-4102                              Gregory of Greenville
                                                      P.O. Box 6713
Fastec Services Co.                                   Greenville, SC 29606
1014 Fort Jackson Road
Charleston, SC 29412                                  Guardian Worksite
                                                      P O Box 826486
Federal Express                                       Philadelphia, PA 19182-6486
P O Box 371461
Pittsburgh, PA 15250                                  Hardman Distribution
                                                      2545 Ivy Street East
FlavorSum                                             Cumming, GA 30041
P.O. Box 2153
Kalamazoo, MI 49003                                   Hartford Insurance
                                                      690 Asylum Avenue
Fox Rothschild LLP Attorneys                          Hartford
2 W Washington St                                     Hartford, CT 06155
Suite 1100
Greenville, SC 29601                                  Hobart Service/ITW Food Equip
                                                      PO Box 2517
Frontier Food Brokerage                               Carol Stream, IL 60132
PO Box 776111
Chicago, IL 60677                                     Horizon Equipment
                                                      1960 Seneca Road
Garrett & Garrett                                     Saint Paul, MN 55122
PO Box 36
Chicago, IL 60677                                     Human Technologies
                                                      105 N. Spring St Ste 200
Gasparini Sales                                       Greenville, SC 29601
917 Granger Road
Syracuse, NY 13219                                    Hydradyne, LLC
                                                      PO Box 974799
Global Electronic Services, Inc.                      Dallas, TX 75397-4799
5325 Palmero Court
Buford, GA 30518                                      Hygiena
                                                      Attn: Accounts Receivable
Global Equipment Company                              941 Avenida Acaso
29833 Network Place                                   Camarillo, CA 93012
Chicago, IL 60673
                                                      ID Technology
Gloves Plus, Inc.                                     PO Box 73419
227 Neely Ferry Road                                  Cleveland, OH 44193
Simpsonville, SC 29680
                                                      Industry Built Software, Ltd
Grainger                                              PO Box 743722
Dept. 834949935                                       Atlanta, GA 30374
Palatine, IL 60038
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Insight Financial Staffing                             Laurens Tool, Inc.
48 Parkway Commons Way                                 408 Templeton Rd
Greer, SC 29650                                        PO Box 365
                                                       Laurens, SC 29360
Integrity Express Logistics
62488 Collections Center Drive                         Mallet & Company, Inc.
Chicago, IL 60693-0624                                 563 Napor Blvd
                                                       Suite 195
International Bakers Services                          Pittsburgh, PA 15205
1902 N. Sheridan Ave.
South Bend, IN 46628                                   Marlin Capital Solutions
                                                       P O Box 13604
Ise Newberry, Inc.                                     Philadelphia, PA 19101-3604
PO Box 758
Newberry, SC 29108                                     Matson Logistics, Inc.
                                                       PO Box 99074
Jason Pruitt Septic Tank Service                       Chicago, IL 60693
PO Box 118
Roebuck, SC 29376                                      MAU Workforce Solutions
                                                       DEPT#40301
JAX Refrigeration                                      P O Box 2153
901 7th Avenue South                                   Birmingham, AL 35287
Jacksonville Beach, FL 32250
                                                       McMaster-Carr
JCS Sales, LLC                                         P.O. Box 7690
Attn: Drew Hembree                                     Chicago, IL 60680
PO Box 1158
Abingdon, VA 24212                                     Mechanical Equipment Company
                                                       PO Box 689
JRP Company                                            Matthews, NC 28106
1619 Patterson Plant Road
Enoree, SC 29335                                       Mekitec US, LLC
                                                       2900 Gateway Drive
JWC Environmental Inc.                                 Suite 635
PO Box 3147                                            Irving, TX 75063
Cumming, GA 30028
                                                       Menasha Packaging Company
Keck's Food Service                                    75 Remittance Drive
2796 Route 328                                         Dept. 6970
Millerton, PA 16936                                    Chicago, IL 60675

Labor Finders of SC, Inc.                              Messer, LLC
PO Box 282                                             88718 Expedite Way
Greenville, SC 29602                                   Chicago, IL 60695

Labor Finders Spartanburg                              Mettler-Toledo, LLC
PO Box 1131                                            PO Box 730867
Spartanburg, SC 29304                                  Dallas, TX 75373-0867

Landford Industrial Services Co.                       Mid Carolina Environmental Equip, LLC
P O Box 366                                            11 Kin Loch Road
Clinton, SC 29325                                      Lugoff, SC 29078

Laurens Commission of Public Works                     Modern Material Handling
PO Box 580476                                          P.O. Box 5658
Charlotte, NC 28258                                    Greenville, SC 29606

Laurens County Tax Collector                           MoLo Solutions, LLC
Attn: Cynthia M. Burke                                 Lockbox Receivables
PO Box 1049                                            PO Box 7050
Laurens, SC 29360                                      Carol Stream, IL 60197-7050
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Mother Murphy's                                        PC Connection Sales Corp.
PO Box 16846                                           DBA Connection
Greensboro, NC 27416-0846                              PO Box 536472
                                                       Pittsburgh, PA 15253-5906
Motion Industries
P.O. Box 404130                                        Penske Truck Leasing Co., Inc.
Atlanta, GA 30384                                      PO Box 532658
                                                       Atlanta, GA 30353
National Risk Solutions, LLC
1558 Central Ave                                       Perishable Sales, Inc.
Suite 7C                                               165 Hansen Court #100
Fort Lee, NJ 07024                                     Wood Dale, IL 60191

Naturipe Value Added Foods, LLC                        Phillips Recoveries, Inc.
PO Box 631231                                          450 Cherokee Rd
Cincinnati, OH 45263-1231                              Pelzer, SC 29669

Naylor                                                 Pinnacle Bank
455 North Service Road East                            Cardmember Services
Oakville, ON                                           PO Box 306005
ON L6H 1A5 CANADA,                                     Nashville, TN 37230-6005

Nelson Diecutting & Packaging, Inc.                    Pinnacle Bank
P.O. Box 171444                                        Attn: Lance Miller SVP, Special Assets
Spartanburg, SC 29301                                  140 East Third St.
                                                       Charlotte, NC 28204
Newburg Egg Corp.
PO Box 175                                             Polar Tech Industries
Woodridge, NY 12789                                    Payment Processing
                                                       PO Box 5930
Nexcor Technologies                                    Bloomington, IL 6170
P.O. Box 1959
Suwanee, GA 30024                                      PRTC
                                                       PO Box 1026
Nexsen Pruet, LLC                                      Laurens, SC 29360
PO Drawer 2426
Columbia, SC 29202                                     Pye Barker
                                                       PO Box 714812
NIC Systems, Inc.                                      Cincinnati, OH 45271
150 Jardin Drive, Unit 10
Concord, ON 14k 3p9 CANADA                             Rain for Rent
                                                       4350 Golf Acres Dr.
Office Depot                                           Charlotte, NC 28208
Dept 56-4203960967
Phoenix, AZ 85062-8004                                 Randstad Staffing Services
                                                       PO Box 277075
Operators Unlimited                                    Atlanta, GA 30384
590 Robin Lake Rd.
Greenville, SC 29606                                   Ready Refresh by Nestle
                                                       PO Box 856192
Orthodox Union                                         Louisville, KY 40285-6192
Eleven Broadway
13th Floor                                             Records Reduction
New York, NJ 10004                                     2031-F Independence Commerce Dr.
                                                       Matthews, NC 28105
Pace Analytical Services, LLC
PO Box 684056                                          Renewable Water Resources
Chicago, IL 60695-4056                                 561 Mauldin Dr.
                                                       Greenville, SC 29607
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Republic Services #744                                Star2Star Communications
PO Box 9001099                                        PO Box 97231
Louisville, KY 40290                                  Las Vegas, NV 89193-7231

Resource Electric, LLC                                Stokes Blueberries FreshPro, Inc.
2854 Hwy 72 West                                      54239 14th Ave.
Clinton, SC 29325                                     Grand Junction, MI 49056

Rogers & Callcott                                     Synergy Flavors, Inc.
PO Box 5655                                           1500 Synergy Dr.
Greenville, SC 29606                                  Wauconda, IL 60084

RTI, Inc.                                             Tamarkin Company
103 High Pointe Dr.                                   375 Victoria Rd
Blythewood, SC 29016                                  Youngstown, OH 44515

SC Dept of Revenue & Taxation                         Teachey Mechanical, Inc.
PO Box 12265                                          PO Box 339
Columbia, SC 29211-9979                               Simpsonville, SC 29681

SC DEW                                                TempTrip, LLC
Document Control-Bankrutpcy                           435 Martin Street
PO Box 995                                            Suite 2020
Columbia, SC 29202-0995                               Blaine, WA 98230

Segra                                                 Tennant Sales & Service Co
PO Box 631140                                         PO Box 71414
Cincinnati, OH 45263-1140                             Chicago, IL 60694-1414

Seltrol, Inc.                                         The Fred D. Pfening Co., Inc.
PO Box 17739                                          1075 West Fifth Ave
Greenville, SC 29606                                  Columbus, OH 43212-2691

Sensient Colors, LLC                                  Tielman North America, LTD
62453 Collections Center Dr.                          180 Middlefield Rd.
Chicago, IL 60693                                     Scarorough, ON
                                                      M1S 4MS,
Shoes For Crews, LLC
PO Box 734176                                         Total Quality Logistics
Chicago, IL 60673-4176                                PO Box 634558
                                                      Cincinnati, OH 45263
Silliker, Inc.
111 E. Wacker Dr.                                     Toyota Industries Commercial Finance
Suite 2300                                            PO Box 660926
Chicago, IL 60601                                     Dallas, TX 75266

Sonoco Recycling, LLC                                 Transamerica Employee Benefits
91218 Collection Center Dr.                           PO Box 634558
Chicago, IL 60693                                     Dallas, TX 75266-3005

Southeast Industrial Equipment                        TSR Marketing
PO Box 63230                                          4043 Windsor Park Drive E.
Charlotte, NC 28263-3230                              Jacksonville, FL 32224

Southeastern Paper Group, Inc.                        U.S. Foodservice, Inc.
PO Box 890671                                         PO Box 602292
Charlotte, NC 28289                                   Charlotte, NC 28260-2292

Southwest Engineers                                   Uline
PO Box 2499                                           Attn: AR
Slidell, LA 70459                                     PO Box 88741
                                                      Chicago, IL 60680
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Unifiller Systems
7621 MacDonald Rd
Delta, BC
V4G 1N3 Canada,

United Chemical Supply
PO Box 5066
Greenville, SC 29606

United Parcel Service
PO Box 809488
Chicago, IL 60680-9488

United States Attorney
District of South Carolina
1441 Main Street, Suite 500
Columbia, SC 29201

United States Internal Revenue Service
PO Box 409101
Ogden, UT 84409

Universal Packaging
PO Box 297
Reidville, SC 29375

Upstate Door Co, Inc.
PO Box 9195
Greenville, SC 29604

UTICA National Insurance Group
PO Box 6532
Utica, NY 13504-6532

Vaughn Belting
PO Box 5505
Spartanburg, SC 29304

Veropak LTD
73 Swaisland Dr.
Crayford, Kent
DAI 4HY United Kingdom,

Videojet Technologies, Inc.
12113 Collection Center Dr.
Chicago, IL 60693

VLS Recovery Services
P O Box 4346
Houston, TX 77210

Williams Scotsman, Inc
PO Box 91975
Chicago, IL 60693-1975
